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                     IN THE UNITED     STATES DISTRICT COURT
                     FOR THE     SOUTHERN DISTRICT OF GEORGIA
                                 STATESBORO DIVISION



UNITED       STATES   OF AMERICA              *


                v.                            *       CR    612-018


TELLAS       LEVALLAS     KENNEDY             *




                                      ORDER




        In    the     captioned      criminal      matter,         Defendant       Tellas

Kennedy       has     filed     a   motion    to   correct         his    Judgment    and

Commitment Order.               Citing Federal Rule of Criminal Procedure

36,    Kennedy argues that he was improperly sentenced.                              More

particularly,             Kennedy      complains           that     the       four-level

enhancement          to   his   criminal     offense       level    under     U.S.S.G.   §

3B1.1 was inappropriate since he was not charged as a leader

in the       indictment.

        Rule 3 6 allows a court to correct "a clerical error" in

a     judgment.           A     clerical     error,        however,      is    a   "minor

uncontroversial error[]."              United States v. Portillo, 363 F.3d

1161, 1164 (11th Cir. 2004) . The rule may not be used "to make

a substantive alteration to                  a criminal           sentence."       United

States v. Pease,              331 F.3d 809, 816        (11th Cir.        2003).     Here,

Kennedy is asking the Court to make a substantive change to

his sentence.             He essentially challenges the legality of his

sentence, which must be done through a motion to vacate, set
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aside,     or     correct    a   sentence     under       28   U.S.C.     §     2255.

Otherwise, a district court cannot modify a sentence once it

has      been      imposed       except     under        three     very        limited

circumstances,       none of which apply here.                   See 18 U.S.C.          §

3582(c).

        The problem for Kennedy is that he has already filed a §

2255 motion,       which has been denied by this Court.                       Thus,   in

order for him to bring another § 2255 motion,                       Kennedy must

move    the     Eleventh     Circuit      Court   of     Appeals   for     an    order

authorizing this Court to consider a second or successive §

2255 motion. See 28 U.S.C. §§ 2255, 2244(b) (3) .                  Until Kennedy

acquires the necessary authorization to bring a successive §

2255 motion from the Court of Appeals,                     this Court does not

have jurisdiction to consider the merits of his claim.

        Upon the foregoing, Kennedy's motion to correct judgment

(doc.    12 60)   is DENIED.

        ORDER ENTERED at Augusta, Georgia, this Q^^_f^ day of
August,    2016.




                                                                    TDAL      HALL
                                                    CD   STATES DISTRICT JUDGE
                                                  rHERN DISTRICT OF GEORGIA
